                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                           NO. 5:11-CR-271-1H




UNITED STATES OF AMERICA,               )
                                        )
      v.                                )
                                        )
TRAVIS MCNEIL,                          )
     Defendant.                         )
                                                              ORDER




      This matter is before the court on defendant’s motion for

release from custody due to concerns regarding COVID-19 in the

Bureau of Prisons.        Inasmuch as defendant attempts to move for

release under 18 U.S.C. § 3624(c)(2) as amended by 12003(b)(2) of

the   CARES   Act,    release   under       this    statute   is   determined   by

appropriate Bureau of Prisons’ officials.                Therefore, the court

has no authority to alter defendant’s sentence under 18 U.S.C. §

3624(c)(2).

      Defendant also appears to move for compassionate release for

however, he has shown no proof of any attempt to exhaust his

administrative       remedies   nor   has      he    shown    extraordinary     and




        Case 5:11-cr-00271-H Document 69 Filed 05/20/20 Page 1 of 2
compelling reasons justifying such a release.             Therefore, the

motion [DE #68] is DENIED without prejudice.

     This 20th day of May 2020.




                           __________________________________
                           Malcolm J. Howard
                           Senior United States District Judge

At Greenville, NC
#26




       Case 5:11-cr-00271-H Document 69 Filed 05/20/20 Page 2 of 2
